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Santa Rosa man among protesters arrested in violent Berkeley clash
The 20-year-old former Mesa High student identifies himself as an antifa activist on his Facebook page. |




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Sean Hines in a photo posted to his Facebook page in February 2017. (SEAN HINES/ FACEBOOK)

PAUL PAYNE
THE PRESS DEMOCRAT
August 28, 2017

A Santa Rosa man was among 13 people arrested Sunday during violent clashes in Berkeley between supporters of President Donald Trump and
counterprotesters, Berkeley police said.

Sean Hines, 20, faced charges of resisting arrest and violations of the city’s municipal code after the chaotic event that pitted an estimated 4,000
people denouncing Trump and white-supremacist groups against about 24 Trump supporters.

Video of the melee that drew police in riot gear showed black-clad antifa members hitting and chasing Joey Gibson, the leader of the conservative
Patriot Prayer group, after he showed up at Martin Luther King Jr. Civic Center Park. The right-wing leader had earlier canceled a Saturday event
planned for San Francisco’s Crissy Field.

Berkeley police said six people were injured and two taken to local hospitals. One officer was injured and several officers were struck with paint.

Others arrested Sunday were mostly from Oakland and Berkeley and were booked on a variety of charges including assault with a deadly weapon.

Hines’ role was not immediately clear. His Facebook pages identified him as an antifa activist and former student at Mesa High School in Santa
Rosa.


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On Facebook, he referred to the recent death of a protester in Charlottesville, Virginia, as tragic but said it would help mobilize people against
fascism.

“Every time we bleed we grow stronger,” said the post.

“This is the philosophy of martyrdom.”

Hines was being held in the Santa Rita jail Monday, with bail set at $5,146.

An arraignment hearing was scheduled for today, according to the Alameda County Sheriff’s Office.

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